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   9

  10
                              UNITED STATES DISTRICT COURT
  11
                             CENTRAL DISTRICT OF CALIFORNIA
  12
                                         SOUTHERN DIVISION
  13
           JLIP, LLC,                               Case No: 8:16-cv-1607-CJC-JCG
  14
                            Plaintiff,
  15               v.
                                                    FLYDIVE INC.’s
  16                                                FIRST AMENDED COMPLAINT
           JETPACK ENTERPRISES, LLC
  17       JETPACK ENTERPRISES-SAN DIEGO,           FOR DECLARATORY JUDGMENT
           LLC, and DEAN O’MALLEY                   OF NON-INFRINGEMENT AND
  18                                                INVALIDITY
  19                        Defendants.
  20

  21       FLYDIVE, INC..
  22
                            Plaintiff,
                   v.
  23

  24
           ZAPIP, LLC and ZIPH2O SAS,

  25                        Defendants.
  26

  27

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                                                                 FLYDIVE FIRST AMENDED COMPLAINT
                                                                       CASE NO: 8:16-CV-1607-CJC-JCG
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   1                FlyDive, Inc. (“FlyDive”) alleges as follows for its First Amended Declaratory
   2     Judgment Complaint against ZapIP LLC (“ZapIP”) and ZipH2O SAS (“ZipH2O”)
   3     (collectively, “Zapata Industries”):
   4                                            JURISDICTION
   5           1.       This case is a patent declaratory judgment action over which the district
   6     courts have original jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338, 1367, 2201, and
   7     2202.      In particular, an actual controversy now exists between FlyDive and Zapata
   8     Industries due to Zapata Industries’ assertion of patent infringement claims against
   9     FlyDive.
  10           2.       This Court has personal jurisdiction over Zapata Industries because Zapata
  11     Industries has threatened FlyDive with infringement claims in California, as well as
  12     threatened FlyDive’s customers elsewhere around the country knowing that the harm
  13     from such threats would be felt by FlyDive in California. The Court has already found
  14     there to be declaratory judgment jurisdiction as to ZapIP. (See Dkt. 43.) ZipH2O is a
  15     French company, and may properly be sued in California. As has been represented by
  16     ZipH2O legal counsel, ZipH2O was recently assigned all the patents owned by its
  17     predecessor, Zapata Holding, but this was a mere “paper reorganization” and ZipH2O is
  18     still controlled by the same person, Franky Zapata, and still exists at the exact same
  19     address. Therefore, references to ZipH2O herein also encompass its predecessor entity,
  20     Zapata Holding. Both ZapIP and ZipH2O are affiliates and have done business jointly
  21     under the names “Zapata” and/or “Zapata Industries,” which operates the website
  22     www.zapata.com (accessible from California) and which has engaged in an extensive
  23     nation-wide marketing campaign asserting that all U.S. competitors – including FlyDive
  24     – will be sued for patent infringement. Upon information and belief, Zapata Industries
  25     consists of holding companies that do not actually have any physical base of operations,
  26     and which exist only on paper, further making it proper that they be sued in California
  27     where the harm they have inflicted has been felt.
  28           3.       Venue is proper in this judicial district pursuant to, without limitation, 28
                                                    1                    FLYDIVE FIRST AMENDED COMPLAINT
                                                                                CASE NO: 8:16-CV-1607-CJC-JCG

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   1     U.S.C. §§ 1391(b) and 1391(c), and given that overlapping Case No. 8:16-cv-01607-
   2     CJC-JCG is already pending here.
   3                                            PARTIES
   4           4.    FlyDive is a Delaware LLC headquartered in San Diego at 4630 Santa Fe
   5     Street, San Diego, CA 92109. FlyDive also has a branch in Newport Beach, California
   6     within this District (formerly Jetpack Enterprises LLC).
   7           5.    ZapIP is a New Jersey LLC with an address of 811 Church Road #105,
   8     Cherry Hill, New Jersey 08002.
   9           6.    ZipH2O is a French company with an address of 39 Avenue Saint Roch, Le
  10     Rove F-13740, France.
  11           7.    On information and belief, ZapIP and ZipH2O are affiliates operating under
  12     the d/b/a “Zapata Industries.” Zapata Industries is also a d/b/a for one or more other
  13     companies that manufacture and distribute jetpack equipment under the Zapata brand
  14     name, but upon information and belief, ZapIP and ZipH2O are paper-only patent holding
  15     companies that do not manufacture or distribute equipment.
  16                                  FACTUAL BACKGROUND
  17           8.    This case concerns water-propelled jetpack technology, called “hydroflight.”
  18           9.    FlyDive is a San Diego-based company that manufactures and distributes
  19     recreational hydroflight equipment.       FlyDive recently acquired Newport Beach,
  20     California-based Jetpack Enterprises LLC, along with Jetpack Enterprises – San Diego
  21     LLC (in San Diego) and Jetpack Enterprises – Nevada LLC (in Pahrump, Nevada)
  22     (collectively, “Jetpack Enterprises”), making FlyDive the second largest hydroflight
  23     company in the United States behind Zapata Industries, which still has a much larger
  24     market share. FlyDive’s primary product is a foot-mounted hydroflight product called
  25     the X-Board, but newly-acquired Jetpack Enterprises is also a distributor of back-
  26     mounted jetpacks and a variety of other hydroflight equipment.
  27           10.   According to U.S. Patent Office Records, ZapIP is the assignee of the
  28     Raymond Li portfolio of patents (“Li Patents”):
                                                  2                   FLYDIVE FIRST AMENDED COMPLAINT
                                                                            CASE NO: 8:16-CV-1607-CJC-JCG

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   1                     x 7,258,301 (“’301 Patent”)
   2                     x 7,735,772 (“’772 Patent”)
   3                     x 7,900,867 (“’867 Patent”)
   4                     x 9,205,905 (“’905 Patent”)
   5                     x 9,387,914 (“’914 Patent”)
   6                     x 9,463,876 (“’876 Patent”)
   7           11.    According to ZipH2O legal counsel, ZipH2O is the assignee of the Franky
   8     Zapata portfolio of patents (“Zapata Patents”):
   9                     x 8,336,805 (“’805 Patent”)
  10                     x 8,608,104 (“’104 Patent”)
  11                     x 8,979,017 (“’017 Patent”)
  12                     x 8,851,943 (“’943 Patent”)
  13                     x 9,168,991 (“’991 Patent”)
  14           12.    Raymond Li is the named inventor of the original hydroflight patents, which
  15     claim priority back to 2004. Upon information and belief, Mr. Li drew from observations
  16     of Canadian equipment he had seen that allowed objects to be lifted via tethered water
  17     pressure hoses. However, Mr. Li could not actually successfully build a jetpack unit at
  18     that time, and so travelled to Florida to seek the assistance of experienced water sports
  19     equipment professionals. There, Mr. Li befriended Frazier Grandison, a respected water
  20     sports equipment expert, as well as other professionals including Keith Paul. Upon
  21     information and belief, although Mr. Li had sketched out the bare concept of the jetpack,
  22     he did not know how to enable the idea, and relied on Mr. Grandison to conceive of the
  23     mechanics and design that actually allowed the device to function.
  24           13.    Mr. Li formed a company called Jetlev to commercialize the water-propelled
  25     jetpack concept, hiring Mr. Grandison and Mr. Paul as some of his first employees.
  26           14.    On or about January 2012, a wealthy investor named Seth Gerszberg formed
  27     the twin Delaware entities Jetlev, LLC (“Jetlev”) and JLIP LLC (“JLIP”).                    The
  28     companies were formed for the purpose taking over managerial control of Mr. Li’s
                                             3                 FLYDIVE FIRST AMENDED COMPLAINT
                                                                              CASE NO: 8:16-CV-1607-CJC-JCG

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   1     jetpack business, with Jetlev engaging in operations, and JLIP acting as the holding
   2     company for the intellectual property. Mr. Li, however, did not assign his rights to the
   3     jetpack patents to JLIP until 2013.
   4           15.    Mr. Gerszberg is widely known for engaging in major corporate transactions
   5     and having ample funding to engage in multiple simultaneous litigations. He was at one
   6     time a top executive of the billion-dollar Marc Ecko clothing brand.
   7           16.    On July 2, 2012, Jetlev and Mr. Li sued Flyboard, Inc., Marathon Florida
   8     Keys Kiteboarding L.L.C. and Emerald Coast Flyboard for infringement of the ‘301, ‘772
   9     and ‘867 Patents. See S.D. Fl. Case No. 12-61323. The accused product in that case was
  10     called the “Flyboard,” which is a water-propelled hyrdoflight device that expels
  11     pressurized water from nozzles attached to the user’s feet, rather than from a jetpack
  12     worn on the back. The 2012 Flyboard lawsuit ended in a “walk-away,” without any
  13     resolution of issues of infringement or validity.
  14           17.    The Flyboard devices were manufactured by Franky Zapata of France, who
  15     is the named inventor of the Zapata Patents, which focus primarily on foot-mounted
  16     hydroflight equipment. Mr. Zapata is a successful businessman, and his Zapata-brand
  17     equipment disproportionately dominates the hydroflight market worldwide. After the
  18     2012 lawsuit, Messrs. Gerszberg and Zapata continued a business dialogue about allying
  19     to create a single, unified hydroflight company that would own all of the Li Patents and
  20     Zapata Patents, and that could use litigation as a tool to eliminate U.S. competition in the
  21     hydroflight market.
  22           18.    According to Patent Office records, Mr. Li finally transferred ownership of
  23     the ‘301, ‘772 and ‘867 Patents to JLIP in 2013. Mr. Li later contested this transfer as
  24     having been procured by Mr. Gerszberg through fraud and duress, but upon information
  25     and belief, relinquished his claims in a settlement with Mr. Gerszberg in early to mid-
  26     2016.
  27           19.    On August 6, 2014, JLIP sued Jetpack Enterprises in the Southern District of
  28     Florida for infringement of the pre-reexam ’772 Patent. Jetpack Enterprises obtained
                                                 4                FLYDIVE FIRST AMENDED COMPLAINT
                                                                              CASE NO: 8:16-CV-1607-CJC-JCG

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   1     dismissal of the case for lack of personal jurisdiction.
   2           20.    On May 3, 2016, JLIP sued Jetpack Enterprises (again) for infringement of
   3     the ‘772 Patent and ’867 Patent by reason of Jetpack Enterprises’ sale of: (1) the
   4     Stratospheric X-Jetpack, (2) the Stratospheric Jetblade, (3) the Jetavation Jetovator, (4)
   5     the Jetavation Freedom Chair, and (5) the Jetavation Shred Sled. After initially being
   6     filed under C.D. Cal. Case No. 8:15-cv-02113-CJC-JCG (a breach of contract and fraud
   7     case filed by Jetpack Enterprises against Jetlev), JLIP’s patent claims are now currently
   8     pending in this District as C.D. Cal. Case No. 8:16-cv-01607-CJC-JCG (“Jetpack
   9     Enterprises Case”), though discovery has not yet commenced. Jetpack Enterprises had
  10     not sold any FlyDive equipment at the time the lawsuit began, but the Stratospheric
  11     Jetblade is substantially the same general construction as FlyDive’s primary product, the
  12     X-Board. The Stratospheric X-Jetpack product is a “traditional” back-mounted jetpack.
  13           21.    Upon information and belief, JLIP did not allege infringement of the other
  14     Li Patents in the Jetpack Enterprises case in order to keep them “in reserve” in the event
  15     that the ’772 or ’867 Patents are found invalid, intending to sue upon them in the future
  16     and otherwise harass Jetpack Enterprise (now FlyDive).
  17           22.    By virtue of having fully acquired all of Jetpack Enterprises, FlyDive has
  18     now stepped into the shoes of Jetpack Enterprises in the Jetpack Enterprises Case, and is
  19     thus already litigating over some, but not all, of the jetpack patents in this District.
  20           23.    In early 2016, Messrs. Gerszberg and Zapata entered into an agreement to
  21     form a single company – Zapata Industries, also referred to as “Zapata” – that is intended
  22     to dominate the U.S. hydroflight market and leverage the joint Li and Zapata patent
  23     portfolios to drive FlyDive and all other competitors out of business.
  24           24.    The consolidation effort began with Mr. Gerszberg settling his outstanding
  25     lawsuits with Mr. Li and claiming full ownership of the Li Patents for JLIP.
  26           25.    In May 2016, Mr. Gerszberg called FlyDive in San Diego personally to have
  27     a discussion.    He ended up speaking with FlyDive CEO Christos Nicolaidis.                     Mr.
  28     Gerszberg stated that he worked with Mr. Zapata, and that he wanted FlyDive to
                                              5                FLYDIVE FIRST AMENDED COMPLAINT
                                                                                 CASE NO: 8:16-CV-1607-CJC-JCG

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   1     discontinue its current business and become a Zapata distributor. When Mr. Nicolaidis
   2     refused Mr. Gerszberg’s offer, Mr. Gerszberg became aggressive and threatened that he
   3     and Mr. Zapata would use the patent portfolio to shut down FlyDive and all of its
   4     distributors.
   5           26.       Mr. Gerszberg had taken this same approach in 2013 with hydroflight
   6     manufacturer Stratospheric (based in Shanghai), insisting that Stratospheric cease
   7     existing operations and effectively become subsumed within Mr. Gerszberg’s company.
   8     Mr. Gerszberg had JLIP sue Stratospheric in 2014, though that case was ultimately
   9     dismissed on procedural grounds without reaching the merits. Mr. Zapata, too, has
  10     threatened Stratospheric with patent infringement lawsuits. It is believed that the only
  11     reason that Messrs. Gerszberg and Zapata have not already sued Stratospheric (or re-sued
  12     it, in the case of Mr. Gerszberg) is because of the perceived inconvenience of reaching
  13     Stratospheric in China. FlyDive, by contrast, is an easier target that is based within the
  14     United States, and is also now the second largest hydroflight company in the U.S.
  15           27.       On July 28, 2016, JLIP transferred all of the Raymond Li Patents to the
  16     newly formed ZapIP, presumably as part of the consolidation with Zapata Industries.
  17           28.       By this point, Messrs. Gerszberg and Zapata had coordinated to create
  18     Zapata Industries, which appears to be a joint “doing-business-as” for both of ZapIP and
  19     ZipH2O (Mr. Zapata’s patent holding company). A new website at www.zapata.com was
  20     created listing all of the Li and Zapata patents as owned exclusively by Zapata Industries.
  21     The website also featured the following ominous warning under a tab “Why We Win,”
  22     stating that Zapata Industries intends to prioritize patent infringement litigation against
  23     every hydroflight manufacturer in the U.S. (which includes FlyDive as the most obvious
  24     target):
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                                                   6                   FLYDIVE FIRST AMENDED COMPLAINT
                                                                             CASE NO: 8:16-CV-1607-CJC-JCG

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  17           29.    On August 18, 2016, Zapata Industries put out a press release stating that it
  18     was seeking to be acquired for $30 million by defense contractor Implant Sciences
  19     Corporation. In the press release, Mr. Zapata stated “I am excited to announce the
  20     acquisition and consolidation of these patent rights,” and Gregg Donnenfeld, Chief
  21     Operating Officer and General Counsel of Zapata Industries, stated: “Zapata intends to
  22     vigorously enforce its patent portfolios to eradicate the marketplace of all infringing
  23     products.”
  24           30.    In August 2016, upon information and belief, Zapata Industries used the
  25     threat of patent infringement to force the Hydroflight World Championship competition
  26     in Florida (a major industry event) to cancel prior arrangements with FlyDive and others,
  27     and only use Zapata-branded equipment. FlyDive had been negotiating for months to
  28     sponsor the Hydroflight World Championship and have the athletes use FlyDive products
                                               7                   FLYDIVE FIRST AMENDED COMPLAINT
                                                                            CASE NO: 8:16-CV-1607-CJC-JCG

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   1     there, but FlyDive was shut out at the last minute because of Mr. Zapata’s threats.
   2     FlyDive estimates the losses to its business from being excluded from the Hydroflight
   3     World Championship to be well over $100,000, along with untold national promotional
   4     value it might have had.
   5           31.     Messrs. Gerszberg and Zapata have succeeded in frightening equipment
   6     distributors and event promoters – including in California – with standing threats that
   7     they will be sued for patent infringement if they sell or promote any non-Zapata
   8     equipment. Many potential FlyDive business partners refuse to work with FlyDive
   9     because of these threats.
  10           32.    FlyDive has been severely prejudiced by trying to operate under a persistent
  11     threat of litigation. FlyDive is a new company trying to expand its market niche with
  12     new distributors and business partners. FlyDive believes that there is more than enough
  13     room in the market for both it and Zapata Industries, but FlyDive cannot grow if potential
  14     business partners fear that the entire FlyDive operation will be shut down in an imminent
  15     patent litigation, as Zapata Industries has vowed to do. Because of the widely-known
  16     significant corporate and personal assets of Messrs. Gerszberg and Zapata, FlyDive –
  17     along with FlyDive’s potential business partners – have every reason to believe that
  18     ZapIP and ZipH2O can and will follow through on their threats. Indeed, now that
  19     FlyDive has acquired Jetpack Enterprises, FlyDive is already currently being sued by
  20     Zapata Industries in this District.
  21           33.    FlyDive does not infringe the Li and Zapata Patents, and in any event, those
  22     patents are invalid, as discussed below. FlyDive herein seeks relief under the Declaratory
  23     Judgment Act to remove the oppressive threat of litigation against it so that it can
  24     properly and fairly conduct its business without harassment.
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                                                  8                     FLYDIVE FIRST AMENDED COMPLAINT
                                                                              CASE NO: 8:16-CV-1607-CJC-JCG

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   1                                           CLAIM I
   2                      (Declaration of Non-Infringement of the Li Patents)

   3           34.   The preceding paragraphs are incorporated here by reference.

   4           35.   There is an actual controversy between the parties as to the question of

   5    infringement of the Li Patents by the FlyDive X-Board. ZapIP is already suing Jetpack

   6    Enterprises over the Stratospheric Jetblade, which is a similar device.               Both Mr.

   7    Gerszberg and Mr. Zapata have threatened FlyDive and FlyDive’s business partners,

   8    stating that they would use the patent portfolios to shut down FlyDive.

   9           36.   With respect to the ’301, ’772 and ’867 Patents, Defendants cannot show

  10    that the FlyDive X-Board has thrust nozzles above the center of gravity, as called for by

  11    the patent claims.

  12           37.   With respect to the ’914 Patent, as a non-limiting example, the X-Board

  13    does not use any electrically conductive connectors or throttle controller, as those terms

  14    are defined in the patent.

  15           38.   With respect to the ’876 Patent, as a non-limiting example, the X-Board

  16    does not bias nozzles to any position, as those terms are defined in the patent.

  17           39.   With respect to the ’905 Patent, as a non-limiting example, the X-Board

  18    does not have a first plurality of substantially circular electrical conductors attached to

  19    the first housing, as those terms are defined in the patent.

  20           40.   FlyDive therefore seeks a declaration that the X-Board Board (either alone

  21    or used with a personal water craft) does not infringe the Li Patents.

  22
                                                CLAIM II
                               (Declaration of Invalidity of the Li Patents)
  23
               41.   The preceding paragraphs are incorporated here by reference.
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               42.   There is an actual controversy between the parties as to the question of
  25
        infringement of the Li Patents by the FlyDive X-Board, and hence whether the Li Patents
  26
        are valid. ZapIP is already suing Jetpack Enterprises over the Stratospheric Jetblade,
  27
        which is a similar device. Both Mr. Gerszberg and Mr. Zapata have threatened FlyDive
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                                                   9                    FLYDIVE FIRST AMENDED COMPLAINT
                                                                              CASE NO: 8:16-CV-1607-CJC-JCG

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   1    and FlyDive’s business partners, stating that they would use the patent portfolios to shut
   2    down FlyDive.
   3           43.   Each claim of the Li Patents is invalid for failure to comply with one or
   4    more provisions of 35 U.S.C. § 101, et seq., including without limitation §§ 101, 102,
   5    103 and/or 112.
   6           44.   In particular, numerous prior art references exist that render the Li Patents
   7    anticipated and/or obvious, including the prior art that has been cited in the
   8    reexaminations of the ’772 and ’867 Patents (which are public record incorporated herein
   9    by reference). The ‘772 Patent also should not have issued in light of the rejections
  10    entered during prosecution of the ’301 Patent. Furthermore, a water-propelled jetpack of
  11    exactly the same kind claimed by the Li Patents was already invented and publicly
  12    disclosed in the 1990s before Mr. Li’s purported invention thereof. Sample images of
  13    this device are shown below, as well as drawings of its intended use with water-borne
  14    vessels to supply the pressurized thrust water.
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                                                  10                  FLYDIVE FIRST AMENDED COMPLAINT
                                                                            CASE NO: 8:16-CV-1607-CJC-JCG

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  25           45.   The subject matter of the claims of the Li Patents is also not adequately
  26    enabled or described pursuant to Section 112 in the written specification, which does not
  27    sufficiently explain to one of skill in the art how the claimed device is to be constructed
  28    to allow the claimed performance, and does not show that the inventor has possession of
                                                11                 FLYDIVE FIRST AMENDED COMPLAINT
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   1    the claimed features at the time of filing of the applications, or back to the claimed
   2    priority dates. In particular, upon information and belief, substantial development of the
   3    claimed device occurred after the priority date of the application, and the applications do
   4    no explain how to actually construct the device such that it would actually function.
   5    Additionally, the Li Patent claims contain many ambiguous terms that are not adequately
   6    defined in the specification and which are thus indefinite. To the extent that the Li Patent
   7    claims are construed to cover an inoperable device, the Li Patents are invalid under
   8    Section 101.
   9           46.     The Li Patents are invalid for improper inventorship. Ideas claimed in the
  10    patents were conceived by persons other than Mr. Li, including Mr. Frazier Grandison.
  11           47.     The foregoing are non-limiting examples of bases for invalidity of the Li
  12    Patents, and FlyDive expressly reserves the right to assert additional bases as their
  13    invalidity investigation continues.
  14           48.     FlyDive seeks a declaration that the Li Patents are invalid.
  15                                           CLAIM III
  16                     (Declaration of Non-Infringement of the Zapata Patents)

  17           49.     The preceding paragraphs are incorporated here by reference.

  18           50.     There is an actual controversy between the parties as to the question of

  19    infringement of the Zapata Patents by the FlyDive X-Board. ZipH2Os’ affiliate, ZapIP,

  20    is already suing Jetpack Enterprises over the Stratospheric Jetblade, which is a similar

  21    device. Both Mr. Gerszberg and Mr. Zapata have threatened FlyDive and FlyDive’s

  22    business partners, stating that they would use the patent portfolios to shut down FlyDive.

  23           51.     As a non-limiting example, with respect to the ’805 Patent, the X-Board

  24    does not have any “free secondary nozzles” as claimed.

  25           52.     As a non-limiting example, with respect to the ’104 Patent, the X-Board

  26    does not have a “platform” as that term is defined in the patent, among other features.

  27           53.     As a non-limiting example, with respect to the ’017 Patent, the X-Board

  28    does not have “protective projections” as that term is defined in the patent, among other
                                                    12                   FLYDIVE FIRST AMENDED COMPLAINT
                                                                               CASE NO: 8:16-CV-1607-CJC-JCG

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   1    features.
   2           54.   As a non-limiting example, with respect to the ’943 Patent, the X-Board
   3    does not use the claimed strap as that term is defined in the patent.
   4           55.   As a non-limiting example, with respect to the ’991 Patent, the X-Board
   5    does not divert pressurized fluid toward a longitudinal recess, or have any fitting
   6    configured to enable free rotation, as those terms are defined in the patent.
   7           56.   FlyDive therefore seeks a declaration that the X-Board (either alone or used
   8    with a personal water craft) does not infringe the Zapata Patents.
   9                                           CLAIM IV
  10                        (Declaration of Invalidity of the Zapata Patents)

  11           57.   The preceding paragraphs are incorporated here by reference.

  12           58.   There is an actual controversy between the parties as to the question of

  13    infringement of the Zapata Patents by the FlyDive X-Board, and hence whether the

  14    Zapata Patents are valid. ZipH2Os’ affiliate, ZapIP is already suing Jetpack Enterprises

  15    over the Stratospheric Jetblade, which is a similar device. Both Mr. Gerszberg and Mr.

  16    Zapata have threatened FlyDive and FlyDive’s business partners, stating that they would

  17    use the patent portfolios to shut down FlyDive.

  18           59.   Each claim of the Zapata Patents is invalid for failure to comply with one or

  19    more provisions of 35 U.S.C. § 101, et seq., including without limitation §§ 101, 102,

  20    103 and/or 112.

  21           60.   In particular, numerous prior art references exist that render the claims

  22    obvious, including specifically the claims of the ’805, ’104 and ’017 Patents. These

  23    include all the prior art disclosed in Claim II above, further in view of the extensive

  24    testing of foot-mounted jet propulsion that was already done by the U.S. government in

  25    the mid-Twentieth Century.        For example, the National Advisory Committee for

  26    Aeronautics did extensive research on hose-tethered, foot-mounted jet propulsion in the

  27    1950s and 1960s, sample images of which are shown below.

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                                                   13                   FLYDIVE FIRST AMENDED COMPLAINT
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  22           61.   A review of the file wrappers for the Zapata Patents – in particular for the
  23    ’104 Patent – reveals that the Patent Office deemed the only point of novelty to be a pivot
  24    joint for the attachment hose, yet this feature was already present in the prior art not
  25    considered by the Patent Office, including equipment that had been manufactured by
  26    Jetlev prior to the purported date of invention of the Zapata Patents. Indeed, each of the
  27    ’805, ’104 and ’017 Patents are nothing more than an obvious modification of technology
  28    previously disclosed in the Li Patents.
                                                  14                  FLYDIVE FIRST AMENDED COMPLAINT
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   1           62.     Each of the ’805, ’104 and ’017 Patents is also invalid because the claims
   2    are drafted so broadly as to encompass a vast array of watercraft that have long been in
   3    the prior art. Most of the claims do not contain any requirement that the claimed device
   4    be capable of flight, and hence they literally describe basic watercraft such as Jet Skis and
   5    boats that expel fluid to propel themselves over water, without flight. This overbreadth
   6    of the claims also renders the patents indefinite, and not supported by a proper written
   7    description.
   8           63.     With respect to the ’943 and ’991 Patents, these are directed to configuring a
   9    personal water craft with a hose line that runs from the rear exhaust to the bow, which
  10    then allows hook-up to a jetpack. However, the Patent Office already determined in the
  11    prosecution of the patents that conducting water toward the bow of a personal water craft
  12    was in the prior art and not inventive. Thus, the sole remaining aspect is the hook-up at
  13    the front of the bow, which cannot be claimed as inventive because it is an obvious
  14    addition, and one for which there are replete examples in the prior art of connectors and
  15    hose fasteners.
  16           64.     Additionally, the Zapata Patent claims contain many ambiguous terms that
  17    are not adequately defined in the specifications and which are thus indefinite. To the
  18    extent that the Zapata Patent claims are construed to cover inoperable devices, the Zapata
  19    Patents are invalid under Section 101.
  20           65.     The foregoing are non-limiting examples of bases for invalidity of the
  21    Zapata Patents, and FlyDive expressly reserves the right to assert additional bases as their
  22    invalidity investigation continues.
  23           66.     FlyDive seeks a declaration that the Zapata Patents are invalid.
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                                                    15                   FLYDIVE FIRST AMENDED COMPLAINT
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   1                                         PRAYER FOR RELIEF
   2               WHEREFORE, FlyDive hereby respectfully requests that this Court enter a
   3    judgment in their favor and against ZapIP and ZipH2O by granting the following relief:
   4               a. That the Court find and declare that FlyDive has not infringed any valid,
   5    enforceable claim of the Li or Zapata Patents;
   6               b. That the Court find and declare that each claim of the Li and Zapata Patents is
   7    invalid;
   8               c. That the Court grant a permanent injunction restraining ZapIP and ZipH2O and
   9    their respective affiliates, parents, subsidiaries, officers, agents, servants, employees,
  10    attorneys, and any other persons acting on its behalf or in concert with them, from
  11    charging or threatening, orally or in writing, that the Li or Zapata Patents have been
  12    infringed by FlyDive;
  13               d. That the Court find and declare this to be an exceptional case under 35 U.S.C. §
  14    285 and award FlyDive its reasonable attorneys’ fees;
  15               e. That the Court award to FlyDive their costs associated with this case; and
  16               f. That the Court award of any and all other relief the Court finds just and proper.
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  19               Dated: May 8, 2017                  FOLEY & LARDNER LLP
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                                                       By: /s/ Jean-Paul Ciardullo
                                                           Jean-Paul Ciardullo
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  23                                                   Attorneys for FlyDive, Inc.

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                                                       16                   FLYDIVE FIRST AMENDED COMPLAINT
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   1                                              JURY DEMAND
   2               FlyDive requests a trial by jury for all issues so triable.
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   4               Dated: May 8, 2017                    FOLEY & LARDNER LLP
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   6
                                                         By: /s/ Jean-Paul Ciardullo
                                                             Jean-Paul Ciardullo
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   8                                                     Attorneys for FlyDive, Inc.

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